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Michael .·Chase Montgo.,.mwe.,r.,-,Y-----~-
FUILNAME

Michael Montgomery
COMMITIED NAME (If diffc:mit)     .

FCI Sheridan, P. 0. -;Box 5QOO
FULL ADDRESS INCLUDlli'GNAME oFmsnnmoN

Sheridan, Oregon 97378
,21005-081
PRISON NUMBER. (If' applicabfo)




                                                               l · '! .-_ ·
                                            UNI'l'ED S'Y1TES dUS'llUCT CDURT
                                             FOR TBE DISTRICT OF ORF.GOO
                 Michael Montgomery,
                 Pro se Plantif::                                CASE~ER               /~beq~i:~(::.,;to- Ac"
               · Br-igitte Wolverton, PA-C/Providerj
                 USP Victorville; Liza Hoen, PA-C                CIVJLRIGHTS COMPLAINT
                 USP Victorville; &anklin Rutledg
                 MD. USP Victorville; Ms. Lean
                                                                     PURSUANT TO
                                                        □ 42U.S.C.§1983 -                        .
                                                                                                  (Checkone)
                 Medical Director, USP Victorville;' Di: Bivens v. Six Unknown Agents 403 U.S. 388 (1971)
                 Dawn Montoya, PA-C FCI Phoenix;        -                                              ,..,,.
                 B. Medrano, DMD, Phoenix; Holly . .)
                 Schultz, ·RN, Phoenix; Kristin      ~
                 Langdon, RN, Phoenix; M, Ramirez, ~
                 EMT/P Phoenix; Mr. Barnes,          ·.
                 Counselor (Pima-A), Phoenix,
                 Unknown·Onit Manager· (Pima-A),    )
                 Phoenix;· Salvatore Ricotta, MD,CD,)
                 Phoenix; Karl Bergman, Provider, )
                 Sheridan;-Anthony Anderson EMT-P,)
                 Sheridan; Andrew Grassley MD/CD, )
                Mr. Cray ( 2B Counselor) , Sheridan')
                Ms, Lean, Medical Director of       )
                 facility Sheridan; Marcie Morgan, )
                HIT, Sheridan; Mary M, Mitchell, )
                Director of Western Region; Ian )
                Conners, Administrator National )
                 Inmate Appeals,                    )
                Defendants,


A. PREVIOUS LAWSUITS

    1. Have you brought any other lawsuits in a federal court while a prisoner: D Yes        Xl No

    2. If your answer to "I." is yes, how many? - ~ - - - - - -

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)


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                a.   Parties to this previous lawsuit: .
                     Plaintiff
                                -----------------------------------
                     Defendants _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                b. Court _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                c.   Docket or case number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                d. Name of judge to whom case was assigned _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                e.   Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                     appealed? Is it still pending?) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                f.   Issues raised:
                                      ---------------------------------
--- -----. ---r---.--•---••••--.~-------. - - --,•,--••••~- ·- -~-- -~



                g. Approximate date of filing lawsuit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                h. Approximate date of disposition _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

           1. Is there a grievance procedure available at the institution where the events relating to your current complaint
              occurred? IX! Yes D No

           2. Have you filed a grievance concerning the facts relating to your current complaint?                      ii Yes     D No

                Ifyour answer is no, explain why not _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




           3. Is the grievance procedure completed? l&J Yes               D No

                If your answer is n9, explain why not _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



           4. Please attach copies of papers related to the grievance procedure.

      C. JURISDICTION

           This complaint alleges that the civil rights ofplaintiff_,M~f~.c~b~a~e_J~M~o~n~t-,g;,o~m~edr..,y'-_ _ _ _ _ _ _ _ _ _ __
                                                                                                       (print plaintiff's name)

           whopresentlyresidesat Federal Correctional Jnstitution Sheridan, P.O. Box 5000 ..
                                                                         (maiimg adi:fress or place of confinement)
           were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at
      USP Victorville              California· FCI Phoenix                 Arizona· and continuin                      at FCI Sheridan.


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                          usP--Victorville                          FCI Phoenix                         FCI Sheridan
    on (date or dates)   8-29-16/12-25-17                        12-27-17(.9-lf-18                   9-22-\8{.  on going
                                                                                                            C arm III)
                                     (Clarm I)                              (C arm II

    NOTE:         You need not name more than one defendant or allege more than one claim. If you are naming more than
                  five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant Brigitte Wolverton                                                                               resides or works at
                      (full name of first defendant) ·
                       USP-Victorville
                      (full address of first defendant)
                       PA-C Provider
                      (defendant1s position and title, if any)


         The defendant is sued in his/her (Check one or both): [X individual                  D official capacity.

         Explain how this defendant was acting under color of law:
               By ·atsregarding-enel'IaintTftsserfouiii-need ·                             ror medicaltreatment~ whem in a normaT
          medical setting aod oat having tbe aneberi:ty to-la'efc1se-s11ch ti:eatmet:1t Re:1.yiog on
          the BOP policy to deny adequate medical attention.
    2: Defendant Liza Hoen .                                               resides· or works at
                      (full name of first defendant)
                       USP Victorville
                      (full address of first defendant)

                       PA-C Provider
                      (defendant's position and title, if any)

                                                                   ·'
         The defendant is sued in his/her (Check ,..o;ne or both):
                                      ~,.I .
                                                                              rn individual   D official capacity.

         Explain how.this defendant WIU!_acting under color oflaw:
          By disregarding the Plaintiffs serious need for medical treatment when in a normal
         .medical setting and not having the authority to refuse such treatment. Relving·on
          the BOP policy to deny adequate medical attention
    3. Defendant Franklin Rutled~e                                      resides or works at
                      (full name of first defendant
                       USP Victorville
                      (full address of first defendant)

                       MD.
                      (defendant's position and title, ff any)


         The defendant is sued in his/her (Check one or both): Kl individual                   D official capacity.

         Explain how this defendant was acting under color oflaw:
               By disregarding the Plaintiffs serious need for medical treatment when in a normal
               medical setting and not having the authority to refuse such trea.tment. Relying on
               the BOP policy to deny adequate medical attention




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                                                                                                                                   I
                                                                                                                               .   '




           4 • Defendant .,,,..,Miss,.,.'-"'L"'e~a~n!..,.....~~~-------------------resides or works at
                            (full nmne of first defendant) ·
                                Is/was at USP Victorville currently at FCI Sheridan
                            (full address of first defendant)
                                Medical Director
                            (defendant's position and title, if any)


               The defendant is sued in his/her (Check one or both):          12!1   indiviiiual   □   official capacity.

                  Explain how this defendant was acting under color of Jaw:
. - -.• ·- --- -" J:iy oistegaroing· the-1'U1intiffs -serious need.for.· medical -treab'nent .when .iri a" normal'____ .
                  medical setting and not having the authority .to refuse· such treatment. Relying on
                       tne BUP policy to deny adequate medical attention
              5: Defendant Dawn Montoi¥.a                                                  resides or works at
                            (full name of first efendant)
                                PA-C Provider
                            (full address of first defendant)




               The defendant is sued in hisfJ:1~t (Cb.eek ,<¥ie -~~ both):    ~ individual □ official capacity.
               Explain how this defendant wrupicting under color of!aw:
               By disregarding the Plaintiffs serious need for medical treatment when in a normal
              medical setting and not having the authority to refuse such treatment. Relying on
              the BOP policy to deny adequate medical attention.
          6 • Defendant
                            (
                             liiname o
                           Medf-eg,o
                                             t defendant)
                                                                              resides or works at

                                DMD.
                            (full address of first defendant)




               The defendant is s~ed in his/her (Check one or both): llli individual . D official capacity.

               Explain how this defendant was acting under color oflaw:
                By disregarding the Plaintiffs serious need for.medical treatment when in a normal
                medical setting and not having the authority to refuse such treatment. Relying on
                the BOP policy to deny adequate medical attention




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       7. Defendant    Holly Schultz                                                                               resides or works at
                      (full name offust defendant) ·
                       RN·
                      (full address of first defendant)
                        Is/was at FCI Phoenix
                      (defendant's position and title, if any)


          The defendant is sued in his/her (Check one or both):          llli indiviiiual   D official capacity.

          Explain how this defendant was acting under color of Jaw:
 ·-.    By disregarding the ~Plaintiffs serious· need for medical treatment when. in a normal                                            .
        medical setting and.not having the authority to refuse such treatment. Relying on
        the BOP policy to deny adequate.medical attention
    8 • Defendant Kris tin Langdon                                        resides or works at
                      (full name of first defendant)
                        RN                    •.
                      (full address of first defendant)

                        Is/was at FCI Phoenix
                      (deferidant's position and title, it'any)


         The defendant is sued in hist~~ (Check ,OM-~~ both): il\i individual               D official capacity.

         Explain how this defendant Wa&_.acting under color of Jaw:
         By disregarding the Plaintiffs serious need for medical treatment-when in a normal
         me.dical setting and not having.the authority to refuse such treatment. Reihying on
         the BOP policy to deny adequate medical attention
    9 .• Defendant M. Ramirez                                              resides or works at
                      (full name of first defendant)
                       EMT P
                      (full address of first defendant)

                       Is was.at.FCI Phoenix
                      defendant's position and title, if any


         The defendant is sued in his/her (Check. one or both):          rn individµal      D official capacity,

         Explain how this defendant was acting under color of Jaw:
          By disregarding the Plaintiffs serious need for medical treatment when in a normal
          medical setting and not having the authority to refuse such treatment. Relying on
          the BOP policy to deny adequate medical attention




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        10K. Defendant ~M=r_._Ba_rn=e~s~~~-------------------'-----resides or works at
                               (full name of first defendant) ·
                                Counselor (Pima"'.A Unit)
                               (full address of first defendant)
                                Is/was at FCI Phoenix
                               (defendant's position and title, it any)


                 The defendant is sued in his/her (Check one or both):           ~ indivi.dual   □   official capaci1y.
             Explain how this defendant was acting under color of law:
--- ----- ----By-disregarding the Plaintiffs serious need for medical treatment-when-iii a normal                             ·-
            medical setting and not having the authority to refuse such treatment. Relying on
            the BOP policy to deny adequate medical attention
        11. Defendant Name Unknown                                           resides or works at
             ·                 (full name of first defendant)
                                Unit Managet°'-(Pima-A Unit)
                               (full.address of first defendant)

                                Is/was at FCI Phoenix
                               (defendant's position and title, if'any)


                 The defendant is sued in his/her
                                              '; !·1
                                                     (Check \.·o,n~ -~~ both): llii individual   D official capaci1y.
            Explain how this defendant WW!_.acting under color of law:
            By disregarding the Plaintiffs serious need for medical treatment when in a normal
            medical setting and not having.the authority to refuse such treatment. Relying on
            the BOP policy to deny adequate medical attention.
        12. Defendant Salvatore Ricotta                                     resides or works at
                               (full name of first defendant)
                                MD CD.
                               (full address of first defendant)

                                Is/was at -FCI Phoenix
                               (defendant's position and title, if any)


                 The defendant is sued in his/her (Check one or both): IXI individual            D official capaci1y.

                 Explain how this defendant was acting under color of law:
                 By_disregarding the Plaintiffs serious need for medical treatment when.in a normal
                 ;;;~difui setting and not having the authority toorefuse such. treatment. Relying on
                  the BOP policy to deny .. adequate medical attention




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        13. Defendant =K~a~r_l_B_e~r.,g"'m~a~n~~~------------------resides or works at
                            (full name of first defendant) ·
                             Mid-Level Provider
                            (full address of first defendant)
                             Is/was at FCI Sheridan
                            (defendant's position and title, if any)


              The defendant is sued in his/her (Check one or both):              rn indivi_dual   □   official capacity.

                    Explain how this defendant was acting under color of law:
-- ., -- •······ '""Eyaisregarding'-t1-ie'.f1alritiffs seri01,1s. need for me<li cal - treatment_ when in a -normal            .
              medical setting and not having the authority to refuse such treatment. Relying on
              the BOP policy to deny adequate medical attention
              Defendant Anthony Anderson                                       resides or works at
                            (full name of first defendant)
                             EMT-P
                            (full address of first defeodant)

                             Is/was at FCI Shej?-dan
                            (defendant's position and title,8Ily)

                                                                        -·
              The defendant is sued in his/her
                                           '; .. \
                                                   (Check 1.·Qlle• or both):     rn individual    □   official capacity.

             Explain how this defendant wrupicting under color oflaw:
             By disregarding the Plaintiffs serious need for medical treatment when in a normal
             medi~~l setting and not having -the authority to refuse such treatment. Relying on.
             the BOP policy to deny adequate medical attention
                        ~drewof ~7.1
         15. Defendant (IIBllle            ail;,                               resides or works at
                                     t e en t)
                             MD/CD
                            (full address of first defendant)

                             Is/was at FCI Sheridan
                            (defendant1s position and title, if any)


              The defendant is sued in his/her (Check one or both): l2il individual               D official capacity.

              Explain how this defendant was acting under color of law:
              By disregarding the Plaintiffs serious need for medical treatment when in a normal
              medical setting and not having the authority to refuse such treatment. Relying on
              the BOP policy to deny adequate medical attention




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       16 . Defendant .,;M;.;r;:.. :. ._C::::r::.:a;;.y~--~-------------------resides or works at
                          (full name of first defendant) ·
                           Counselor (Unit 2B)
                          (full address of first defendant)

                           Is was at FCI Sheridan
                          defendant's position an title, if any


             The defendant is sued in his/her (Check one or both): ID indivi!iual       D official capacity.

             Explain how this defendant was acting uoder color of law:
-. -   - ····Bydisregarding ·1:J:ie'.J?Iairitiffs serious need for medical treatment when in a· normal             -•-
            medical setting and not having the authority to refuse such treatment. Relying on
            the BOp policy to deny adequate medical attention
       17. Defendant Marcie Morfef.n                                               resides or works at
                         (full name offust Cendant)
                           HIT
                         (full address of first defendant)

                           Is/was at FCI Sheridan
                         (defendant's position and title, if any)·
                                                                      ,•
             The defendant is sued in his/her  (Check Qll~ or both): IKl individual
                                           ,. \ .
                                               ~              \_,
                                                                                        D official capacity.

            Explain how this defendant wru$_.acting uoder color oflaw:
            By disregarding the Plaintiffs serious need for medical treatment when in a normal
            medical setting and not having the authority to refuse such treatment. Relying on.
            the BOP policy to deny adeqaute medical attention
       1liL Defendant Mary M. Mitchell                                       resides or works at
                         (full name of first defendant)
                         Di:1sector oLthe·WesternRegion
                         (full address of first defendant)

                         Is/was at the Retfeional Office
                         (defendant's position and ti e, if any)


            The defendant is sued in his/her (Check one or both): IXI individual        D official capacity.

            Explain how this defendant was acting uoder color oflaw:
            By disregarding the Plaintiffs serious need for medical treatment when in a normal
            medical setting and not having the authority to refuse such treatme_nt. Relying on
            the BOP policy to deny adequate medical attention




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        19 • Defendant     -'I:!a~n~Co=n!!n!!e=r,_,,s~--------------------- resides or works at
                           (full name of first defeodant) ·
                            Administrator National Inmate Appeals
                           (full address of first defendant)

                            Is/was at the Qlntral Office in
                           (defendant1s position and title, if any)
                                                                               n.c.

              The defendant is sued in his/her (Check one or both): 00 individual        □ official capacity.

              Explain how this defendant was acting under color of law:
- -· ·- ·· . --·-ey•·a:rsregarain1CThe'"PlaTnl:ITfs ""serious need for medical treatment'when· in a· normal ____ _
                 medical setting and not having the authority to refuse such treatment. Relying on
                 the BOP policy to deny adequate medical attention
          20 •.' Defendant   William W. Lothrop                                        resides or works at
                           (full name of first defendant)
                              Is was at FCI Phoenix in Arizona
                          (full address of first defendant)

                                                                                           u ion
                                                               any)

                                                                       ·'
              The defendant is sued in his/her (Check OM or both): Kl individual         □   official capacity.
                                                ', ''\          \_-



              Explain how this defendant wrupicting under color of law:
              By disregarding the Plaintiffs serious need for medical treatment when 'in a normal
              medical setting and not having the authority to refuse such treatment. Relying on
              the BOP policy to deny adequate medical attention
        21.   Defendant ...JW:1<aaiynlille....J1Wise.Ji.;;s,i;scJiJ.ngeu,sf~------------------ resides or works at
                        (full name of first defendint
                             Is was at FCI Phoenix in.Arizona
                          (full address of first defendant)




              The defendant is sued fa his/her (Check one or both): IXl individual       □ official capacity.

              Explain how this defendant was acting under color of law:
              By disregarding the Plaintiffs seriaJJs need for medical treatment when in a_narmal
              medical setting and net having the authority ta refuse sJJcb treatment. Relying on
              the BOP policy to deny adequate medical attention




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            · D. CLAIMS*
                                                                                                                          CLAIM I
                      The following civil right has been violated:
                       Plantiff := believes that his Fifth Amendment right to Due Process ·and his Eigth
                       Amendment right to be free of any Cruel and Unusual Punishment has been violated.
                      Plantiff··: further believes that his right to adequate medical attention as well as
                      treatment and care have been severely prejudiced. Plaintiff clai~s that the deliberate
                      indifference to his severe medical coridition and treatment has continued over the
                      course of multiple years now. Starting on or about August 29, 2016 while at United
                      States Penitentiary Victorville and continuing as he has been transfered from USP
                      Victorville to Federal Correctional Institution Phoenix and then currently at Federa_l
                       Correctional Ins_titution Sheridan. I have been denied proper medical care, been
.........._... 2t;:!'r~.e~<!~t-:"'e~q"'~~-.lt;·-t~h::..·::'-d:t:i:;::.s~r,s.e'l;;g~a=:rd'.=±•::'·d=i~s~J;e:!:·:Ss'.!:p'.:.e~c;,~t1.,::::.a~.n~d=·~-e~v~e=n~.-:.':·t~o=ld~.. t~h~a~t===trere~=:=·-=i~s-=.n~o::'.:t~h=i~n~ga:=~-                     =-
                                                                                                                                                                                                                           ~-~o~niag-=w~-i!::·.t~h=-
                the Plaintiff· at each and every institution that he has been too, Each Defendant
                      named in the Petitioners Bivens claim has had-at some point an interaction with the
                      Petitioner and has denied him treatment even after being made aware of such.painful
                      conditions. For these reasons the Plaintiff claims his Eighth and Fifth Amendment
                      rights have been violated ahd he can prove that prison officials were deliberately
                      indifferent to a serious medical need as well as deficient medical care.
                     Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
                   . citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
                     DEFENDANT (by name) did to violate your right.
                      On or about August 29, 2016, in• United States Penitentiarl', Victorville, inside the
                      Housing Unit 3A, cell 104 where the Plaruntiff was assigned. Plaintiff was using
                      tbe ladder on his bunk to climb up-to his top bunk when his foot slipped off. His
                      lower rib caught on the top bunk (ladder was powder coated smooth without grip tape
                      or anything to help in securing his footing and keep him from slipping),causing
                      "costochondral rib seperation at (approx) T10 on the left anterior chest." This injury
                      placed, the Plaintiff in excrutiating pain and causing difficulties in the Plaintiff's
                      breathing. Plaintiff asked the.unit officer if he could go up to medical, upon
                      explaining the situation. Upon arriving at medical the Plaintiff was seen by Paramedic
                      Brian Villanueva. After Plaintiff explained what had happened, the medic took the
                      Plaintiff's vitals and examined his rib cage and the::site,where the pain was coming
                      from. In'Mr. Villanueva's Clinical Encounter he states in pertanent part, "Yes:
                      Deformity," ribs were folding over each other causing deformity, "Minor deformity/
                      crepitus noted to approx. 8th ICS on inspiration and expiration." In Mr. Villanueva's
                    *If there is more than one claim, describe the additional claim(s) on another attached piece ofpaper using the same
                    outline.


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CONTINUATION OF FACTS FROM PAGE 10 .•.

"assesment" states as follows:
            "L side flank pain. Duty medical officer contacted and ordered
             the patient to receive Ibuprofen until patient can be x-rayed
             and evaluated by provider at sick call. Patient released
             back to housing unit and advised to follow up with provider
             at sick call or to immediately notify staff if condition
             changes or worsens."
Plaintiff during the exam notified Mr. Villanueva that he felt something
break inside; was in excruciating pain, and was having difficulties with
breathing. Plaintiff was in such extreme pain that he had to be helped
by another inmate to medical and insisted to be seen by a doctor. Paramedic
Mr. Villanueva refused to acknowledge the severity of the injury. At this
point the Plaintiff has shown that Defendant is deliberately indifferent
to Plaintiff's serious medical needs. The Defendant knew of a broken rib
cage and was negligent in diagnosing and treating the Plaintiff's medical
condition. Defendant is a paramedic and trained to recognize a serious
condition. At this point the Plaintiff should have been seen by a doctor
or transfered to a hospital. Instead a duty officer was contacted and
Plaintiff was sent back to a regular unit. The Defendant had at this very
moment, knowledge that Plaintiff was suffering from pain of his affliction,
and that he had i:r-serious medical need. A serious need that was not reasonably
being responded to. The Plaintiff's condition could result in further
significant injury and or the unnecessary wanton infliction of pain.
     The Plaintiff returned the following day    (08-30-16) to medical. The
Plaintiff was seen by PA-C Liza Hoen who again took vitals. Plaintiff explained
what had happened and was examined. Plaintiff again expressed that he was --

experiencing excrusiating pain and had not slept that night due to this
pain. He also expressed his difficulty in -breathing. The Plaintiff stated
there was something sticking out of his chest.


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CONTINUATION OF FACTS FROM PAGE 10; ..

     Defendant Mrs. Hoen states in her Exam Comments the following:
            "No distress, Left anterior chest wall exquisitely tender to
             palpation, with palpable 4x4x0.5cm mass/defect at costochondral
             juncj;ion of (approx.) T10, no Crepitus."
In her assesment she states:
            "Fracture one rib, S2239XS-Current-costochondral rib separation
             at (approx.) T10 on the Left, anterior chest."
    All of the notes made in this clinical encounter described both in
sight and physically feeling by her hand the Plaintiff's broken rib. it
is obvious to both the Defendant and Plaintiff that something is in fact
broken. The Defendant chose to ignore the obvious, disregarded her medical
training and sent Plaintiff on his way back to the Unit. The Plaintiff was
in obvious and extreme pain. It is very clear by Defendant Hoen's notes,
comments, and assesment that she was aware of abnormalty in the Plaintiff's
''left,- anterior chest." Defendant should have asked a doctor to evaluate
the Plaintiff. Defendant Hoen's final disposition on this day was to
follow up at sick call as needed, and return to sick call if not improved.
Plaintiff was given an abdominal binder for support, as well as Ibuprofen
600mg for pain (BID). Plantiff was advised that the x-ray results were
negative of any fractures and directed to leave.
     The Plaintiff had refused to leave medical and asked to see a doctor
adamently expressing that there was something really wrong and something
was sticking out of his Left anterior chest, and that the rib cage appeared to
be folding over itself._ He has explained that the pain was near intolerable
and he could not breath. Defendant Hoen stated that the Plaintiff did not
have a right to see a doctor and that nothing was wrong with him. Defendant
Hoen directed the Plaintiff to leave again or she would call for a Lt.
and have him taken to the Special Housing Unit (SHU).


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CONTINUATION OF FACTS FROM PAGE 10 ..•

     Knowing that being·placed in SHU he would not receive medication
or medical attention, he left and returned to the housing Unit. This
clinical encounter reflects a pain scale of 8. Consistent with what the
Plaintiff had been complaining about. Furthermore,.the incounter makes
clear that this Defendant was aware of the potential of a serious medical
need that was disregarded by Defendant Liza Hoen. The Defendant did
knowingly document that the. Plaintiff was experiencing '.'really bad chest
pain and I can hardly breathe, it hurts so bad." The Defendant refused
the Plaintiff to see a doctor and when Plaintiff refused to leave until
he was seen by the doctor, the Defendant then threatened the Plaintiff
with segregation (SHU). If the Defendant (Hoen) had properly and professionally
examined the Plaintiff she should have been able, just as anyone else to
plainly .see and.feel·the deformity. Defendant Hoen was acting Deliberately
Indifferent to the Plaintiff for making him suffer through "unnecessary and
wanton infliction of pain."
     On   or about September 12, 2016, the Plaintiff had returned to medical
because the binder he had been issued was causing further and unnecessary
pain. It appeared to have collapsed his left side of the rib cage. In and
through research done by the Plaintiff, he learned that the last thing you
want to do in a situation such as he was suffering, is to wear a binder.
By following the medical advise of Defendant Hoen, Plaintiff is permanently
disfigured and is constantly in pain.
Plaintiff was seen this date·by PA~C Brigitte Wolverton. During the encounter
the Plaintiff explained to her the amount of pain he has been in since
the incident happened as well as the ·new disfigurement. Plaintiff asked·this
Defendant to see the doctor to properly address the issue. Defendant seemed
to be intoxicated and kept falling asleep during this encounter. Plaintiff

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became agitated by the Defendants actions and . he demanded to see the doctor
because the Defendant could not stay awake to perform her duties and
responsibilities to the Plaintiff. Defendant refused to look at the injury
or acknowledge the issue at hand and would not address the the medical
condition that has been significantly affecting the Plaintiff's daily
activities; or the existance of cronic and substantial pain that the
Plaintiff has been experiencing. The Plaintiff made the Defendant aware
that the Ibuprofen that was prescribed was not relieving any pain let alone
reducing the swelling of the Plaintiff's rib cage and the area of the injury.
Defendant Wolverton documented her subjective observation as, "his pain is
7/10. However, he does not appear to be in that much pain." Upon Defendant
Wolverton's apparent actions of nodding off, the Plaintiff again asked to
see the doctor and was then told by Defendant that the visit was over and
that he needed to leave.
     The Plaintiff began his grievance process as required by the Prison
Litigation Reform Act.(PLRA). In his complaint he expressed the lack.of
medical attention that he was experiencing for his injury. Plaintiff felt
that he was experiencing or being subjected to "Cruel and Unusual Punishment,"
at the hands of the people who are required, expected, and have duty to
care for him. He explained in full detail his complaints regarding his
interactions and dealings with the medical department and staff, just short
of begging for. help •. Plaintiff has been going above and beyond his own
responsibilities to aquire proper and adequate medical attention. While
exraus~, his   remedies, Plaintiff continued to seek medical attention,
but was refused at the check in window and not allowed to even see the sick
call provider, by both Defendants, Hoen and Wolverton.

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     Plaintiff explained the issue to.both Defenants, Hoen and Wolverton
that his pain and deformity were worsening, yet they both were aggressive.
and rudely told Plaintiff to leave or they would have the Plaintiff escorted
to the SHU. Again not wanting to be taken to the SHU, Plaintiff left medical.
Approximately one month later a female staff member from the administration
brough the Plaintiff his grievence in the Unit and informed him that his
allegations of poor medical attention was not a grievable issue and that he
should leave it alone. I presumed the woman to be the Wardens Administrative
Remedy Coordinator. She did not return the complaint to him either. She took
it with her when she left. Not knowing what else to do and out of fear of
retaliation from administrative staff, he left it alone.
     Over the course of approximately the next 8-10 months, Plaintiff began
to experience health problems due to constant pain, sleep deprivation, and
thoughts that he'd never be able to enjoy or partake in the same daily
activities or livelyhood as he once did. One day in the SHU, the nurse who
was passing out meds had informed the Plaintiff that if any Request to Staff
(commonly refered to as kites), was filed out to a particular staff member,
for example, the Doctor then niether Defendant Hoen or Wolverton could interfere
with or respond to them.
     On or about July 24, 2017, Defendant Wolverton had the Plaintiff escorted
from the SHU to an exam room to conduct an exam per the "kite" that Plaintiff
had submitted with the doctor's name on it with the understanding that only
the doctor would be responding to. Again, Defendant Wolverton was having a
hard time remaining alert and atentive to Plaintiff's medical needs. The
Defendant,-~61verton began with asking:
             Wolverton: I'm here because you requested to see the doctor.


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            Plaintiff: "That "kite" was for and addressed to the doctor.
                       I'm not trying to see you. You have ignored my
                       pain, suffering, and agony through the last several
                       months as if nothing was wrong, medically, with me.
                       Not to be rude or insulting, but you're not a doctor,
                       nor are you qualified to do the doctor's job."
            Defendant; If you don-'t want to see me then you can be returned
                       to your cell in SHU. I'm here to see you and I'm the
                       one you're going to see.
            Plaintiff; I'm requesting to see the doctor, not you. If you
                       are going to continue denying me to see the doctor
                       then I'd like for you to call the LT.
            Defendant: I told you that you were not going to see anyone else.
                       Since I will not work for you, you will be returned
                       to your cell.
The Defendant became agitated and radioed for staff to return Plaintiff to
the SHU. Nothing futher was ordered or performed.
     Some time on or about Mid November of 2017, returning from the food service
after lunch the Plaintiff spotted the Medical Director Ms. Leen. Plaintiff
asked and nearly begged her for something to be done so that he could get seen
by the doctor of the institution. Defendant Leen became hostile, talking down
to the Plaintiff. She stated, "I've already read your file and that there was
nothing wrong with you." Plaintiff askai Defendant if he could lift his shirt
to show her the deformity on the left side of his chest. Defendant agreed to
allow Plaintiff to do so. Defendant showed genuine surprise when she saw how
badly the deformity was. At that very moment she directed the Plaintiff to
follow her to medical. Plaintiff did, sat by while Defendnant Leen made orders
on the computer for a CT scan. Defendant assured Plaintiff.that she would take
care of it as soon as possible.
     The final report and recomendation for CT Scan. Exam: Film ribs; History:
lump in left flank; Technique: 3 views obtained; Comparison: No prior image
available. Findings: Lungs and pleural spaces are clear. There is a~soft tissue
swelling overlaying the anterior left 8th and 9th ribs. There is no definate

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radiographic evidence for acute fracture. There is Costochondral junction
irregularity. Impression: Costochondral junction irregularity and overlapping
soft tissue swelling at the anterior left 8th and· 9th ribs. Correlate with
physical exam, injury, history and clinical presentation. If there is clinical
concern, er examination can provide further characterization.
     Plaint1ff was transfered from USP Victorville on or about December 27, 2017.
He was transfered to Federal Correctional Institution, Phoenix. Plaintiff
arrived at the FCI Phoenix Institution on or about December 27,2018.
     Upon arrival at FCI Phoenix, Plaintiff was interviewed by Dawn Montoya.
He explained the issues he'd been dealing with and so she told him to go sick
call in the morning. On the Inmate Intra-System Transfer Form, listed is the
current health problems of the Plaintiff:
              "Costochondral rib separation at (approx.) T10 on the left,
              anterior chest; Fracture one rib."
The Staff member who completed the form was LaDrew Price EMT on or about December
21, 2017.
     On January 5, 2018, an assesment was done by Medrano, B. DMD. It also
indicates   that "Encounter for general adult without abnormal findings." It
also shows for whatever reason that "pain, unspecified, left rib pain, no
fracture (resolved).
     On January 6, 2018, Plaintiff was seen by Defendant Holly Schultz, RN.
During this Clinical Encounter, Plaintiff explained his injury to Defendant
while expressing the amount of pain he was experiencing and that he believed
that the injury had healed incorrectly. Plaintiff pleaded with Defendant for
her to help him. He explained that he's been seeking proper care through the
                       1\         1          1     '   I        ·
                       ~    (f-   r")!it\\   i'1\..tl\{l1
proper channels and (just bot getting anywhere:1 Defendant seemed concerned and
assured the Plaintiff that she,would get him in to see the doctor. Plaintiff

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expressed that his pain was on a scale of 8/10 with exasperating factors
bending, walking, or simply breathing. Plaintiff's injury was restricting
his movements and breathing. He again expressed concern that the medication
that was prescribed (Ibuprofen) was not working and began question it's
application for the Plaintiff's injury.·Defendant Schultz's examination
report describes Chest Wall as: Joint deformity, malalignment, tenderness.
In her exam comments she states: "The inmate has a definitive deformity of
anterior left ribs."
     On or about January 15, 2018, Plaintiff sent an eiectronic Request to

Staff "kite" to Health Services .wondering when he would be seen since medical
had failed to schedule a follow up appointment after he went to sick call.
The E-cop-out went unanswered.
     Medical files indicate that since arriving at FCI Phoenix, Plaintiff
has sought medical attention for his injuries. Plaintiff believes that FCI
Phoenix's inattention to the Plaintiff's serious medical needs does in fact
constitute a violation of his Eighth Amendment by the deliberate indifference
to a.'serious-medical ·.need~ Defendants were aware, had knowledge of, and failed
in providing adequate medical care to the Plantiff.
     For the fourth time in less than 35 days, the Plantiff went to medical
to seek medical attention. Plaintiff was seen by Defendant Kristin Langdon, RN.
The Plaintiff still felt as if his sternum was fractured explained the injury
and.the amount of pain he was in. He a],so explained that.he was waiting for
either an MRI or   er scan to be preformed, but could not understand how or why
medical staff did not take such an injury    as    serious or urgent. He was
a visual abnormalty in his left chest. This abnormalty protrudes outside of
his chest. Plaintiff was asked enough questions to become alerted to the

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seriousness of the situation and thus knows that medical staff are also aware
of the seriousness of the Plaintiff's medical needs.
     On or about January 30, 2018, Plaintiff sent an electronic request to·

staff regarding being charged $2.00 for going to sick call for the same issue that
he'd already been charged for. He was simply trying to follow up with medical
staff since they failed to follow up with him. He asked for the money to be
returned to his inmate trust account. No response.
     On or about February 10, 2018, Plaintiff sent an electronic request to staff

regarding his sternum or rib cage as he'd not heard anything back from any of
the medical staff. He stated that the medication was making no difference, and
wanting to know why he was charged yet again for the same issue. Again no response.
     On or about March 22, 2018, fran   tre cari:xurl, Plaintiff went to sick-call for
the third time since being in Phoenix and and seen someone for the fifth Clinical
Encounter. Plaintiff was seen by Defendant M. Ramirez EMT/P, expressing the very
same issues that he's been explaining to the other providers whohave taken the.
approach of doing nothing medically productive. The Defendant's.report reads as:
Inmate appears angry. Inmate bas previous injury to left rib that has been x-rayed
in the past and inmate has complained of pain. Rib sticks out and is a firm bump.
nothing further was done. This appeared to be nothing more than a counseling
session telling me the same thing as before. The medical staff are deliberately
indifferent to the Plaintiff's medical needs.
    On or about March 26, 2018 1 ,:from the compound, Plaintiff· is removed

from his cell and taken to sick call for the fourth time and his
sixth Clinical Encounter.· Seen by Defendant Ramirez, Plaintiff again
expressed the amount of pain he has been in and having to suffer
through. The pain is so bad that the Plaintiff can not sleep at

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night causing the Plaintiff to become irritable and easily agitated.
The Defendants medical assesment: Plaintiff has had the same
complaint of::pain for weeks now. He is complaining that he wants
further evaluations on his left rib. "see previous notes for complaint
of pain." He also wants Ibuprofen. I.:will refer him to commissary for
that. Plaintiff was returned to his unit. without any further treatment
for his injury. Plaintiff sent via the institutional mail, a request
to staff seeking a complete copy of his medical records as of December
24, 2017. This cop-out was dated in April 22, 2018. Medical "received"
that request in September 6, 2018. Plaintiff received no response.
By May 3, 2018, Plaintiff submitted another cop-out to medical seeking
a copy of his medical records since his arrival at FCI Phoenix.
Medical's response was that they did 27 pages of medical records
on the same date of receiving my cop-out ..iA.lso on May 3, 2018, ·the
Plaintiff had sent a second cop-out to medical asking them to make
an appointment for an MRI. The response was: CT scan ordered not an
MRI. CT is pending scheduling. These cop-outs were never returned
to Plaintiff so that he could see the responses. However, he found
them amongst his medical records.
    For the fifth time, Plaintiff left the unit to go up to medical to
   go to sick-call for his sixth Clinical Encounter. This time the
Plaintiff was seen by Defendant Weissinger. Plaintiff once again
began explaining his issues and pain that he was suffer through. He
explained that he was unable to purchase Ibuprofen from commissary
because they are always sold out, and that it was making him sick.
The Defendant did prescribe 400mg tablets for x3 a day for 7days.


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    On or about May 24, 2018, Plaintiff began to exhaust his
administrative remedy process in accordance with the P.L.R.A ..
Plaintiff sought out Counselor Barnes (Pima-A) for the BP-8
(informal resolution) form to begin the process of grieving his
issue. The BP-8 is a informal resolution that must be completed
before getting the Formal Administrative remedy form BP-9.
The Plaintiff stated in his BP-8 to the counselor what his complaint
was about. "I have been trying to get medical attention for my
sternum since August 2016. I am in severe pain and currently have
an unknown object sticking out of my chest. I have been very clear
in all my corrispondence, but have been neglected and in most
cases completely ignored. This is and always has been              a serious
matter in- getting proper medical attention." The response that
I received was, "Your CT scan is scheduled and confirmed. Please
wait for the assigned date." The Plaintiff has gone through
great efforts to receive adequate medical attention for his issue.
Plaintiff has over 1 1/2 inches of medical records, request's,
and reports where nothing was properly attended to. Unknown Unit
Manager and Counselor Barnes both signed the unresolved BP-8.
Both Defendants have access to Plaintiff's medical records, both
were aware of his issues, and still acted in a deliberate manner
by not assisting him further to access proper and adequate medical.
attention. Furthermore, when Defendant Barnes was returning the
response of the BP-8 to Plaintiff he also gave him a BP-9 (formal
administrative remedy form) to proceed his complaint to the Warden·
of the institution. He stated that, "this is above my pay grade."

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Plaintiff received this response on or about June 2, 2018.
    Plaintiff immediately filled out the BP-9 and turned it into
the Defendant Barnes for processing on or about June 6, 2018.
Defendant, William   w.   Lothrop failed in meeting the response
due date by filing an extention for an additional 30 days.
Plaintif did receive a response from Defendant Lothrop on July
16, 2018, on the response due date. In that response, ..:J:he:,warden
doesn't even address the six questions that I asked to be addressed.
the response was lengthly, but incomplete to the issues at hand.
Through the administrative remedy process the warden was made
aware of the issues to the Plaintiff of his concerns of inadequate
and improper medical treatment or care. In Defendant Lathrop's
response he, "suggest's that the Plaintiff seek medical care if
Plaintiff has other concerns." Plaintiff asserts that he has
been effectively as possible seeking medical attention ''if his
condition had worsened or he had other concerns." The Plaintiff
has been doing just that for the past 22 months. Plaintiff has
felt very discouraged by the actions of past Defendant actions
or lack thereof.
    On or about June 15, 2018, Plaintiff was taken to an outside
facility (Abrazo Arrowhead Campus) for a "CT Chest W/0 Contrast."
The report states:
                   Indications: LOCALIZED SWELLING, MASS AND
                   Lump, Trunk-R22.2
                   Chest Wall: BASE OF THE NECK IS NORMAL. THE
                   AT THERE IS SUBTLE BULGE/SEPARATION OR CHRONIC
                   FRACTURE OF THE LEFT 10th RIB CLOSE TO CHONDRAL
                   JUNCTION.


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                        NO MASS IS SEEN. NO SOFT ,TISSUE ABNORMALITY.
                       VISIUALIZED INTRA-ABDOMINAL IS NORMAL.
                       Impression: LEFT RIB iQ COASTER CHONDRAL
                       JUNCTION SEPARATION OR OLD FRACTURE. OTHERWISE
                       NORMAL er CHEST WITHOUT CONTRAST.
When Plaintiff was returned to the Institution from the outside facility,
Defendant Weissinger reports      er of chest reveals old fracture of the left
10th rib or possibly on floater, no other findings. The report and analysis
of the    er scan confirms the previous injury that Plaintiff complains of
causing him pain. The facts or in the report as evidence of an injury.
     The Plaintiff has been housed in an extremely violent enviroment and
had to go through daily torment both mentally and physicaly knowing that
in the event that Plaintiff had to defend or protect himself from attack, he'd
probably be severely injured as a result of the pain he had already been
subjected to from the Federal Bureau of Prisons failure to properly diagnose
and treat his original injury and is still vulnerable. Having the injury
heal in a incorrect manner leaves the damaged area weak and susceptible to
further injury and potentially leaving Plaintiff in a deathly situation and
defensless from attack.
     It has taken the Federal Bureau of Prisons over 22 months to the injury
that the Plaintiff has been so consistently complaining about. Had the
Plaintiff not been so insistant for some form of imaging other than an x-ray,
he may still have never had the actual evidence needed to prove the deliberate
indifference to a serious medical nee~ at the hands of .so many medical staff
at different institutions.
     On   June 27, 2018, Plaintiff was brought into medical for a Clinical
Encounter with Dr. Ricotta as a result of filing a BP-8 and B]?-9. During this
encounter, Defendant Ricotta states:

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                 "The second BP-0 (actually should be BP-9), refers to an
                 injury he sustained on 08/29/16 when he slipped attempting
                 to climb into his bunk, injuring his left lower rib cage.
                 Since then he states he has been experiencing chest pain
                 that prevents him from sleeping on his left side. A recent
                 CT of the chest was normal except for evidence of 10th
                 rib costochondral junction separation or old fracture. On
                 exam there is a palpable nodularity at that site. I informed
                 him I would request a Thoracic Surgical consult to determine
                 if ariy corrective procedure could be recomended.
As can be seen by Dr. Ricotta's report, he was aware of Plaintiffs injury, even

documented the visuality of the deformity, then told Plaintiff that he'd consult
a thoracic surgeon if there was anything that can be done to correct it.
H~ scheduled· a consult with a thoracic surgeon, Defendant sent Plaintiff to
an orthopedic surgeon instead.
     On July 28, 2018, Plaintiff sent a request to staff (medical) seeking that
medical prescribe something for pain as he'd been·experiencing a pain level
of 10. He also sought a pillow to place under him to support his sternum and
chest. Medical responded on 08/02/18 that he would have to purchase analgesic
OTC from commissary.
     On or about July 28, 2018, Plaintiff submitted a second request to staff
(medical), .seeking to know if he had been aprroved or scheduled to see the
specialist for his sternum. Medical responded on 08/02/18, that he is being
scheduled.
     On or about July 30, 2018, Plaintiff sent a request to staff (medical),
seeking to be placed on the next sick call schedule for some form of pain
management, that he was in a lot of pain and had no way to support his sternum.
Medical responded on 08/01/18, "you will have to purchase Motrin OTC." Medical

Has consistantly refused to provide any type treatment for the Plaintiffs
steady pain that he has complained of. Trying to make the Plaintiff pay for
his own medication in which he could not actually order from commissary.

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In the Clinical Encounter dated 08/01/18, Dr. Ricotta entered notes
pertaining to the request to staff dated 07/28/18 seeking a pillow, pain
medication, and the scheduling of the Thoracic consult. The doctor's notes
contained the following:
             "Inmate requested a second pillow (Plaintiff never had one at
             this point) which was denied. The Ibuprofen can be purchased
             OTC since he is not enrolled in CCC (chronic care clinic) and
             the Thoracic consult is being scheduled, All responses relating
            _to his cop-out.
     Inmate was ·transfered from Phoenix on or about September 10, 2018,
arriving at Federal Corretional Institution, Sheridan in Oregon on or about
September 28, 2018, Looking at the Inmate Intra-system Transfer from FCI
Phoenix shows and confirms that Plaintiff has had a "fractured one rib,
costochondral rib separation at (approx.) T10 on left , anterior chest."
This documentation and the access that each Defendant has had to these records
also shows their willingness to ignore the serious need for medical treatment.
     While in transfer, Plaintiff was temporarily held in Parump, Nevada.
While there he saw the doctor of the facility and explained that his injury has
been being ignored by the Federal Bureau of Prisons, That he has been
prescribed and taking Ibuprofen for over two years. The doctor said, "that
is way too long and could have quite possibly caused stomach lining problems
or even kidney issues. The doctor prescribed Diclofenac Potassium tablet/capsule
in 75mg. doses. He was given a thirty ($0) day supp).y.
     When Plaintiff did finally arrive at his designation, FCI Sheridan a
medical screening was preformed by Defendant Karl Bergman. Notes included in
his report are as follows:
            Current Painfull Condition Location: PAIN/INJURY IN LEFT SIDE
            OF RIB CAGE FROM PREVIOUS FALL IN AUGUST 2016.
            Body Deformities: NO.
            New Medication Orders: DICLOFENAC POTASSIUM TABLET/CAPSULE_

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            75mg orally-two times a day x 30 day(s).
Even though it appears. that this medication was ordered for the Plaintiff,
he did not receive it. Plaintiff tried to explain injury and amount of pain
he was in, but Defendant Bergman said to, ."just go. to sick call..
     On or about October 1, 2018 Defendant,, Dr. Andrew Grasley entered an

adr\1inistrative note to a Clinical Encounter form. Dr. Grasley wrote in his
note that was forwarded to the Pharmacy:
            Administrative note:· DISCONTINUING NONFORMUIARY NSAID.
            Discontinued Medication Orders: DICLOFENAC POTASSIUM TABLET/
            CAPSULE 75mg.
            Discontinue type: WHEN PHARMACY PROCESSES
            Discontinue Reason: DISCONTINUE
Dr Grasley discontinued Plaintiff's medication for no reason. At least no reason
was stated in his report. Plaintiff was made aware of this at the mornings
medication call. He was told that his Prescription had been discontinued
and would have to go to sick call later to see about getting it back. The
Plaintiff went to sick call later in the morning. He was seen by Defendant
Anthony Anderson EMT-P. Plaintiff explained to Defendant of his injury and that
he had been scheduled to be seen by a thoracic surgeon at FCI Phoenix before
he was transfered, He was looking to make certain that the procedure would follow
him and that He'd be able to still get the procedure completed while at Sheridan.
Plaintiff expressed the amount of pain he was in and would like to see the
specialist that he was told he'd see. In the Clinical Encounter with Defendant
Anderson, he documents as follows:
            SUBJECTIVE: Inmate. states that he was seen at his previos
            institution and was supposed to see a specialist/surgeon for
            a possibly cracked/fractured sternum.
            PAIN SCAlE: 7
            ASSESSMENT: Inmate had previous rib cage injury at another
            institution and was asking about treatment for his incorrect


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               healing. Upon examination the rib cage on the left, has some
               inconsistency with bone alignment and healing. Inmate is able
               to take a deep breath but without some facial grimace. Inmate
               states that he is able to run and work out but he has pain
               while doing so. States that the pain does increase before and
               after workout.
The Plaintiff was sent back to his unit and nothing further was done. Defendant
Anderson did not prescribe ·anything for pain or order any further follow ups.
      0n OCtober 17, 2018, after Plaintiff never received a response to his
BP-10 Appeal of the Wardens response, he filed his BP-11 in accordance of the
Federal Bureau of Prisons Policy and Program Statement regarding response times
and to consider non-response as a denial. The due date for the response of
his BP-10 was August 23, 2018. Even if the Federal Bureau of Prisons had
 followed their own policy regarding the allowed amount of time for responses
and even the additional time allowed by an extension of time, the Region Director,
Mary Mitchell failed to comply by those requirements as set forth by the policy
 and program statement. Her response was beyond the amount.of time permitted.
 Her response was dated for September 24, 2018.· Tuo days late. Tuo days is two
 days when    the Plaintiff must follow the very same rules or risk his complaint
being completely denied. Plaintiff feels that the Federal Bureau of Prisons
has also violated the guidelines as set by the Prison Litigation Refom Act.
      On   OCtober.22, 2018, Plaintiff went to sick call and was seen by Defendant
 Bergman. Plaintiff explained to Defendant a second time, his injuries. Plaintiff
· also requested to be seen by the Doctor. a:s he is the one who discontinued the
 same medication that Defendant Bergman had ordered upon arrival. Defendant
 Bergman refered the Plaintiff to be seen by the Doctor Andrew Grasley MD/CD.
 Plaintiff returned to his unit.


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     October 23, 2018, Plaintiff finally received his response from the
Regional Director (BP-10), Defendant Mary M. Mitchell. This the response
that was due Aug. 23, 2018 or by Sept. 21, 2018 by way of a thirty (30) day
extension, which the Regional Director did not have. If by chance there
had been one unknown to the Plaintiff, the Defendant Mary M. Mitchell
still failed in her obligation to respond in a timely manner.
     In the response, Defendant Mary M. Mitchell refused to acknowledge
the issue at hand. Inher response she all but admits that, "when an inmate
is transfered, any non-emergent procedures approved at other facilities
or institutions must be reviewed and approved at the new facility as the
new treating physician (whether a Bureau physician or a specialist) must
evaluate and concur with the course of treatment." This would or could
explain why the Plaintiff has been. transfered so frequently. It is no secret
and well known that this is a routine tactic preformed by. the Bureau of
Prisons. It has come out in other cases. More than once.
     October 23, 2018, Plaintiff also receives at the very same time of
his BP-10 response, his rejected BP-11 from the Central Office. It was
accompanied with a rejection notice stating:
             REJECTION REASON 1: You did not provide a copy of your Regional
             Office Administrative remedy appeal (BP-10) form or .a copy of
             the (BP~10) response from the Regional Director.
             REJECTION REASON 2: You may resubmit .your appeal in proper
             form within 15 days of the date of this rejection notice.
Two very important facts surrounding this whole process and deliberate
indifference to a serious medical need is the delays in medical treatment
caused by the Bureau of Prisons medical staff and on up to the higher echelons
of the administration. The Bureau has attempted to dissuade the Plaintiff
from continuing his remedy process by, (1).Flagrantly rejecting his

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appeal to the Central Office when he clearly stated in the first sentence
that he had not received a response. So the Central Office rejects his
appeal. Stating that he must attach a copy of the response that so convienently
was returned the same day as the rejection notice, (2) the rejection notice
stated that the Plaintiff could resubmit his appeal within 15 days of the
date on the notice. Big problem is that the notice was dated November 2,
2018. It was received in the wardens office at FCI Sheridan on November 14,
2018. Just days before the 15 days was to expire.
     On November 2, ·2018, Clinical Encounter- Administrative Note; Dr.

Grasley entered a note.   This is only information that was added by the Defe~dant
without the Plaintiff present.
            ADMINISTRATIVE NOTE 1: Discontinuing consult from previous
            facility, will f/u in CCC soon.
            DISCONTINUED CONSULTATION REQUESTS: Consult/ Procedure;
            Cardiothoracic Surgery; Priority; routine.
            REASON FOR REQUEST: Thoracic Surgery to determine if any corrective
            procedure such as rib resection· is appropriate for a costochondral
            separation at the 10 left rib present since 09/29/16. Send copy
            of chest er dated 06/15/18.
With all that Plaintiff had gone through to finally be seen by a specialist
and the doctor to just simply cancel the consult after there was finally some
progress in treatment, shows Doctor Grasley's deliberate indiference to
the Plaintiff's serious medical need. There is absolutely no plausible reason
or excusse to cancel a visit to a specialist for potential corrective surgery.


     On or about November 5, 2018, Plaintiff sees a familiar face of Defendant,
Ms. Leen in the housing unit that the Plaintiff was assigned to (2A) at
FCI Sheridan. Plaintiff respectfully approached her and inquired what was
going on with his appointment to see a specialist or to even see the doctor

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CONTINUATION OF FACTS FROM PAGE 10 •. ,


due to the .Bureau of Prisons Medical staff failing to provide the Plaintiff
with an opportunity to see the facility doctor from his arrival at the
institution back in September 2018. Defendant Leens response.was for
the Plaintiff to wait, that they were·doing all that they could with only
having one doctor in the facility. When the Plaintiff called Ms. Leen out
on the rediculous excuse she was making for their deliberate actions of
indiference, she told him that he'd better change his attitude otherwise
she'd send him to the SHU. Plaintiff replied with, "for what? Asking to
be treated by medical? Plaintiff then turned and walked away.
     A few moments later, Plaintiff went to his unit counselor, B. Cray's
office and asked for a BP-8. Defendant Cray asked PLaintiff why he wanted
a BP-8? Plaintiff h~d again explained his .medical condition and what he'd
been having to deal with for the past several months. Defendant Cray refused
to give the Plaintiff the requested BP-8 (informal resolution form), the
form that an inmate must complete before even being allowed to advance a
complaint to the wardens office. No BP-8 equals no BP-9 and not being able
to comply with the P.L.R.A .. This is not the first time that an inmate has
been denied access to the administrative process by this Defendant either
by outright refusal to give the BP-8 to an inmate or even using threats
as a means to discourage an inmate to utilize the proper channels of seeking
remedy. Plaintiff was a bit timid and fearfull that Defendant Cray would follow
through on his threat of sending him to the SHU if he filed a grievence.
The·:Plaintiff ·was uncertain as to what the Defendant would alledge,' but
also knew that if 4e did get taken to the SHU that completing his administrative
process, and his Biven's claim would all but be lost.
     It does not take a rocket scientist to visually see that the Plaintiff


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 does in fact have a disfigured lower left rib cage. To be able to see with
 your own eyes and be able to clearly conduct a visual inspection of the
 deformity, a normal person without medical training can see that something
 is wrong with the Plaintiff. Someone somewhere should have been enough of
 a proffesional to take action into their own hands and treat the Plaintiff's
 injuries. The mere fact that this injury did happen, Plaintiff suffered
 physical damages, and even endured psychological problems and mental health
 issues. Plaintiff claims that medical has and continues to act in a deliberate
 and indifferent manner to his serious need for medical attention. Plaintiff
 feels that his encounters with
                             ,_ the Bureau of Prisons were by far operating
 below the standard of practice. Had Plaintiff been on a job and the injury
 happened, he would have been able.to get the proper and timely medical
 treatment. Plaintiff has shown very clearly that most .Defendants have had
 at some point the knowledge of the Plaintiffs medical issues. Most Defendants
 had some form of communication with the Plaintiff in regards to his injury
- all while not providing adequate or proper treatment which in this day an
 age constitutes a derelict of duties that has resulted in the Plaintiff
 having physical deformities and every day pain with limited enjoyment of
 his normal every day activities. The deliberate indifference has caused a
 great deal of stress, pain, and even a body deformity.
      Since trying to utilize the Administrative Remedy process as required by
 the P.L.R.A., the Plaintiff feels that Bureau of Prison staff are retaliating
 against him within the loopholes of the policy and program statements. The
· Plaintiff has sent out several letters to see legal representation for this
 potential Bivens Case against the Bureau of Prisons and most of the letters
 were returned in some deformed manner consistant with being tampered with
 in an attempt to discourage the Plaintiff. Some returned letters were so

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CONTINUATION OF FACTS FROM PAGE 10 •..


badly damaged that stamps were missing, tire tracks, address was even near
shredded off the front, and looked as it it had been ground into the ground.
 • •. · Plaintiff went to speak to Lt. McDonald at mainline about his letters
being so badly damaged. She immediately turned aggresive and blamed the
United States Postal Service for the damages,,She also stated, "get out of
here dude." among other things. Plaintiff felt it was in his best interest
to heed her advice and left to help defuse the potentially negative outcome.
The Plaintiff has made an over abundance of effort to seek through.the proper
channels, adequate medical attention. All to no avail,
     December 4, 2018, Defendant Grasley had scheduled him by the institutonal
call-out for a follow up from sick call, Defendant Grasley's Clinical Encounter
states the following:
            COMPLAINT 1, CHIEF COMPLAINT: Or:thopedic/Rheumatology
            SUBJECTIVE: Patient fell onto the Left chest wall at his previous
            facility in 2016. The fall occurred when he slipped getting onto
            his bunk and landed on the edge of the lower bunk. Since then with
            pain and a palpable deformity in the lower left chest wall. The
            pain bothers him when he is moving the torso and when he is lying
            down. Notes that the pain is quite bothersome. No radiation of the
            pain. er scan·showed evidence of prior separation of the left 10th
            rib costochondral junction
            PAIN SCALE: 8
            EXAM COMMENTS: Left chest wall with palpable deformity along the
            lower:·margin of the :trubs anteriorly.
            ASSESSMENT: Fracture one rib, S2239XS - current
            PLAN: Ordered new medication of OXcarbazepine Tablet 300mg orally
            two times a day x 180 day(s)
            NEW CONSULTATION REQUESTS: Orthopedist
            SUBTYPE: Offsite non-surgical Appt, NOS
            REASON FO~ REQUEST: See "SUBJECTIVE" notes.
            OTHER·:· Will start oxcarliazepine for pain control.
Plaintiff wonders why Defendant Grasley went through the trouble to discontinue
the prior treatment that was recommended at his previous facility to turn around

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CONTINUATION OF FACTS FROM PAGE10 .. ;


just after two and a half months to change his mind about an orthopedist with
a target date of 03/04/2019. The medication that Defendant prescribed have
not worked well for the pain. Somehow the Defendant has his wires crossed
with the Plaintiff seeing an ortho insted of a thoracic surgeon. Orthopedist
would never be able to deal with this issue. That is what a thoracic surgeon
is for. Plaintiff isn't sure of why that was even approved. Why did Defendant
Grasley undue all the work that the Plaintiff had accomplished, to recommend
an unnecessary treatment?
     December 14,-2018, Plaintiff received a response to the second BP-11
that he had mailed due to the previous BP-11 being rejected. As with the other
responses, the Bureau of Prisons refuses to answer even one question that has
been presented to them. Ian Conners, Administrator NAtional Inmate Appeals,
has refused.to read and conduct his own separate investigation into the Plaintiffs
complaints. The Plaintiff _has-supplied Defendant Conners with sufficient
documentary evidence in support of his deliberate indifference case. Mr. Conners
has continued this indifference with his response of denial. Plaintiff has now
even begged .for the proper medical attention to the highest -level in the .::.-:ca,.~_-, __
bureaucratic chains of command. Defendant Conners has decided to ignore the
pleas from the Plaintiff for help. Defendant Conners is and was aware as well
as had knowledge of Plaintiff's issues and chose to do nothing instead of
upholding his oath and duties. It has become very clear. that ALL of the Defendants
in this complaint had two main thing in common. Knowledge! They were all made
perfectly aware of the issue that· the Plaintiff was having. Second, they all
chose to treat and disregard the Plaintiff with deliberate·indifference to
his serious medical need.
     December 17, 2018, Plaintiff went into medical to ask what was happening
with his Dr.'s appointment? Plaintiff had been talking to Defendant Marcie

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CONTINUATION OF FACTS FROM PAGE 10 .••


Morgan, (HIT) when Defendant Ms. Leen came storming around the corner yelling
at Plaintiff, "you will not harrass my staff and you need to leave." Defendant
Mrs. Morgan gave Plaintiff a copy of the order and he left. A consultation
request was submitted on 12/04/18 for an off site non-surgical appt, NOS was
approved on 12/12/18,
     December 28, 2018, Plaintiff sent a cop-out to medical seeking a copy
of his medical records so he could begin obtaining the documentation he felt
would be of value to his filing the Bivens claim. In.his request the Plaintiff
had stated:
              "Please provide me with a complete copy of my medical records
                beginning on 4-1-16 and ending on 12-28-18. This includes but
                not limited to all corrispondence and replies, any and all
              : notes or dispositions, medical findings, medical grievences
                Etc ••••• (EVERYTHING). No response.
     On   January 9, 2019, Plaintiff was·taken to McMinville Hospital to see
Dr. Mark Thomas MD., who is an orthopedic surgeon. This Dr. specializes in
just about all broken bones or tendons. He does not deal with the ribs or
sternum. His notes in ROS seem to be a generic response that was copied and
pasted. It's inaccuracies include:
              "He reports no chest pain, and no sleep disruptions."
              PRIOR IMAGING: x-ray; er scan; x-rays done.at FCI, er done
              AZ. we do not have any of the imaging.
              PHYSICAL EXAM: Shows no swelling and no pain with rib compression.
              No tenderness over sternum.·
              Both of these statements are false.
Plaintiff expresses that there is a bump sticking out of his chest. Also stresses
that pressure is the biggest cause of pain. Part of the dr. 's recommendations
stated:
              "I think if this is something he feels is intollerable, he
              probably has to see a thoracic surgeon to see if there is
              anything that they would have to offer."

                              ·'" -_ . Page 34
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CONTINUATION OF FACTS FROM PAGE 10 .•.


     Once again Dr. Grasley knowingly canceled the appointment of the
specialist that would have been able to do anything positive for the
Plaintiffs issue. The appointment that Defendant Grasley sent the Plaintiff
to was unnecessary and a waste of money. As a "profesional in the medical
field, Grasley should have known the difference between an orthopedic
surgeon and a thoracic surgeon. Upon returning to the institution, Plaintiff
spoke with Captain Galberth, who had escorted Plaintiff on med trip, about
helping him to get his medical records since an "open house" at medical
took place while Plaintiff was out of the institution. Captain Galberth
had agreed to assist the Plaintiff in obtaining his medical records.
     on January 14, 2019, during mail call, Plaintiff received the cop-out
to medical dated 12/28/19.     The response was dated 01/03/19, by Defendant
Morgan stating:
            "Come to the next open house."
underneath Mrs •. Morgans signature was another note written by Ms. Leen
and dated 01/11/19, stating:
            "Spoke to Captin - inmate was out on bus med trip. Needs
            records for upcoming court."
Plaintiff took request to mainline where he approached Defendant Leen
and asked what was going on with getting his records, because he had been
told that it would be taken care of. Defendant Leen told Plaintiff that if
was not an open house within a week she would get them. Three weeks later
Plaintiff again approached Defendant Leen at mainline with a third request.
Plaintiff explained that there had not.been any open houses and would like
his medical records. Defendant Leen's response was that she would check
and if there had not been an open house she would get it herself. Plaintiff
gave her the request and thanked her. The following Monday, February 5, 2019,

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Plaintiff received the request back with the same response:
             "Please come to the next Medical Records Open House. The
             date and time to arrive will be announced on Trulincs via
             email."
 Plaintiff received this response and within an hour Ms., Leen came into
 the unit to do inspection. Plaintiff approached her about the response.
 Defendant became hostile toward the Plaintiff, claiming there had been
 two prior open houses and would not assist him. Pl~intiff stated that
 he would show her on the computer's institution bulletin board. She
 had stated that her staff had told her that there had been open·house
 on two prior occassions and refused to look at the proof (cop-out) in
 front of her.
      The next day I went to mainline, saw the .Captain and spoke to him
· in regards to the situation. He then called Defendant Leen over and
 before either the Captain or I could say anything to her, she became
 extremely aggitaded and told the Captain, "Don't worry about it I have
 S.I.S. on him already. The Captain then told the Plaintiff not to worry
 that he'd take care of it.
      The Plaintiff filed a BP-10, directly' to Region out of fear of
 retaliation by Defendant Ms. Leen for her statement to the Captain. The
 Plaintiff in his BP-10 stated that her willingness to twist situations,
 her use of other staff to manipulate medical records and to create
 potentially harmfull situations is very concerning. This shows that she
 is willing to go to great lengths to cover up her negligence in duty
 and indifference in medical care.
      February 27th at 7:00a.m. was the first open house for medicaL in
 two months. Plaintiff was called by Mrs. · Morgan and asked about any
follow up on the appointment that Plaintiff had attended. Mrs.· Morgan had

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GONTINUATION OF FACTS FROM PAGE 10 ...


told him that, "the Dr. had recomended a referal to another Dr. (thoracic)
if you felt that it was unbearable but that they had not done so and you
will have to go to sick-call to get an appointment with the doctor have
him do a referal in order for an appointment to be made for a thoracic surgeon."
She gave the Plaintiff a copy of that recomendation and complete copy of
requested medical records. Plaintiff left medical.
     On or about March 1, 2019, Plaintiff went to sick-call. Spoke to a male

paramedic, name unknown. Explained to him that he was told the day before by
Defendant Morgan to come in. She told him to ·go to sick~call to see him to
have him make an appointment to see the doctor. Plaintiff had explained that
he was approved to see a thoracic surgeon in early 2018 while at Phoenix.
Sheridan sent me to anorthopedic surgeon on 1/14/19. The surgeon stated that.
he was unable to do anything for him but did recomend he see a thoracic surgeon.
Plaintiff came to sick-call so that he could get an appointment with the
doctor so that the doctor could submitt paperwork for approval to see the
thoracic surgeon which should have been done upon return from the Orthopedic
surgeon. The paramedic called in a "Mrs. O" in and explained the situation.
She stated that he must wait for it to be reviewed and approved. Expressed
that it was approved in 2018 and shouldn't be too difficult to gain approval
again. Plaintiff was told to give it a week or two and hit Ms. Leen up at
mainline. Plaintiff informed "Mrs. O" of the situation between himself and
Defendant Leen and that he felt uncomfortable doing so. She stated that she
would do what she could and was called away. The paramedic explained that
it was now on her and the doctor because, "they have a big bag of tricks
and he has a little tea cup." Plaintiff explained that the medication did
not work and only made him feel drunk and that he takes Ibuprofen maybe


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CONTINUATION OF FACTS FROM PAGE 10 •••


once a week when pain wakes him up at night. The paramedic said that he
would do what he could. That was the end of the visit.




     Plaintiff reserves his right to amend this complaint to either the
Courts orders of if the Plaintiff becomes aware of or remembers any further
information.




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      E. REQUEST FOR RELIEF

          I believe that I am entitled to the following specific relief:
            First and foremost the Plaintiff requests that he been seen, assessed, ·and treated
            by thoracic surgeon. He believes that he is entitled to co.rrective surgery to ·be
            pr~formed immediately. Until corrective surgery can be scheduled and completed, the
             Plaintiff seeks some type of adequate pain management solution. Plaintiff would
             like to see each employee who has been neglegent in their duties and responsibilities
             to protecting and providing adequate health care to inmates, be repr~manded,
             suspended, or some other form of consequences as a deterent to further deny any
             inmate in the care and custody the proper medical attention that is needed,
             The Plaintiff seeks damages for the physical deformity that the Plaintiff has had
             to suffer with, unduley for such a long time. Plaintiff also _fleeks com_p_~ps_ar)' .
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             repayment for the money he has had to come out of pocket with for each sick-call
                                                                                                  =·          ==-
             appointment, medications he's had to purchase over the counter through the institutions
            comissary. Plaintiff seeks monetary restitution for the wanton affliction of pain
            that the Defendants made the Plaintiff suffer through even after being made aware
           of Plaintiffs serious need for medical attention. ·Plaintiff seeks monetary
           gompensation for the mental anguish that he has suffered over the course of several
           months and since the date of original accident-caused by the pain, agony, and poor
           nights sleeping while in pain. He seeks compensation for the lack of the ability to
           have and enjoy a normal daily activities since the date of the original accident.
           The Plaintiff seeks a total of $25,000,000,00.dollars to be dispersed how the !'Ionorable
           Court sees fit. The Plaintiff also seeks an additional $1,000,000.00 to go the non-
           profit organization of his choice, and one that deals with prison litigations of
           civil rights.




                       (Date)




     CV-66 (7/97)
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/
                                                                                                                                                                     PBX 1330.16c
                                                                                                                                                                    August 13, 2013
                                                                                                                                                                             Page4

                                                                  Attachment A: Informal Resolution




                                                                                     Attachment A

                                                                        INFORMAL RESOLUTION
                                                                              FCJ J>boenix
                                                                            Phoenix, AZ 85086

    An 'inmate with a complaint should complete the first three sections below and submit the form to his/lier respective
    Correctional CouJlselor.

    1.   07,~lwl /lt,J.,,£.t,·1ec,•1
      inmate Name ·                    .1            J              Reg.No,                                           Unit


    2. Nature of complaint (briefly state your p1:ob1em:.J=·-~I•~•'~"-''-·~h='·="·~6~~~~-r~•~qe-•~n-~c;·~J-~c~.,~""~·
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    3.     Inmate~s efforts to resolve problem (includes contact with staff: lnmat.e Requests to StaffMember submissions,
           etc.):
                                                                                        1            ·-   ';             i(, /, . .                  I ·    I         .
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    5. I~rma~WAS/WAS NOT accomplished (Circle One)..



    Correctional Counselor~
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M~NTGOMERY; MICHAEL
Reg. No. 21005-081
PIMA A.


                Inmate.Informal Resolution Response

This is in response to your Informal Resolution, wherein your chief
complaint is about medical care.


Your CT scan is scheduled and confirmed. Please wait for the assigned
date;
            '                       Case 3:19-cv-00546-AC                          Document 1               Filed 04/12/19                Page 42 of 53
       U.S. DEPARTMENT OF JUSTICE                                                                REQUEST FOR ADMINISTRATIVE REMEDY
       Federal Bureau of Prisons


                            Type or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

       From,O'.)ov:k:fil/'M£':J (D;dAo-el C.
                        L     T NAMl!: FIRST, MIDDLE INITIAL
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                                                                                                  REG. NO.
                                                                                                                               P.vnl?'I A
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                                                                                                                                                           R:t~INSTITUTION




        Part B- RESPONSE




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                                                                                                                    n       JUN -6 2018               U
                                                                                                                      BY:-----




                        DATE                                                                                                 WARDEN OR REGIONAL DIRECTOR
       If dissatisfied with this respo11se, you may appeal to the Regional Director. Your appeal must be received in the Regio11al Office withiu 20 calendar days of the date of this respouse.
                                                                                                                                 CASE NUMBER: _ _ _ _ _ _ _ __
-- -
         ORIGINAL: RETURN TO INMATE
       -------------------------------------------------------------~-----
                                                                                                                                 CASE NUMBER: _ _ _ _ _ _ _ __

         Part C- RECEIPT
       Return to:                                                                                                                                                      INSTITUTION
                              LAST NAME, FIRST, MIDDLE INITIAL                                           REG. NO.                            UNIT

       SUBJECT:--------------------------------------


                        DATE                                                                           RECIPIENT'S SIGNATURE (STAFF MEMBER)                                          BP-229(13)
                                                                                                                                                                                     APRll 1982
           Case 3:19-cv-00546-AC          Document 1       Filed 04/12/19     Page 43 of 53




Montgomery, Michael C                  Reg. No. 21005-081                     Remedy# 942835- Fl


This is in response to your Request for Administrative Remedy received on June 6, 2018, in
which you state improper and inadequate medical care.

A review of your medical record shows you are receiving appropriate medical care at FCI
Phoenix. A physician at FCC Victorville evaluated you on November 7, 2017. The physical
exam demonstrates a well-developed well-nourished male in no apparent distress. The chest is
clear to auscultatiOl}J]d the cardiac exam demonstrates a regular rate and rhythm without rubs,
gallops, or murmu&."there is a protuberance along the costal margin inferiorly overlying the
costochondral junction laterally,1This is not showing compression tenderness of the chest wall
and/or rib cage, it is callus, smooth, and nontender. X-rays of the area revealed no evidence of a
fracture. You arrived at FCI Phoenix on December 27, 2018, during your medical intake
screening you were notified how to obtain medical and dental treatment. However, you did not
mention your rib cage pain until your sick call visit on January 6, 2018. You returned to sick
call on January 29, 2018, complaining your sternum was broken and in pain, you reported your
pain level as an eight. The nurse evaluated you and recorded your blood pressure as 139/85, pulse
50, oxygen saturation 97%, and respirations at 15. A physical exam of the left lower rib cage
identified a small palpable and visible non-friable mass/lump, tender to palpation, with no
ecchymosis, warmth, and/or erythema was noted. The nurse completed a chart review and
discovered the x-ray report completed on November 3, 2017. It showed costochondral junction
irregularity with soft tissue swelling over the 8th and 9th ribs. There is no radiographic evidence of
an acute fracture. Since January 29, 2018, you have utilized sick call multiple times regarding
your costochondral junction pain, hence the URC committee approved a CT scan on April 3,
2018, and it was completed on June 15, 2018. On June 19, 2018, medical received the results of
the CT scan, which revealed an old fracture of the left 10th rib or possibly a floater and no other
findings. On June 27, 2018, the Clinical Director examined you and noted a palpable nodularity
at the costochondral junction separation or old fracture site. The Clinical Director submitted you
for a Thoracic Surgical consult to determine if any corrective procedure could be recommended.

Your medical records suggest you are receiving appropriate and timely medical care and
treatment in accordance with Program Statement 6031.04, Patient Care. Should you have other
concerns or your condition worsens, I encourage you to seek medical care through sick call. The
Health Services staff are required to practice under strict guidelines of the BOP Central Office,
National Health Policies, and related policies and procedures when determining medical
treatment strategies.

Accordingly, this response is for informational purposes only.

If dissatisfied with this response, you may appeal to the Regional Director, Western Regional
Office, 7338 Shoreline Dr., Stockton, CA 95219. Your appeal must be received in the Regional
Office within 20 calendar days of the. date of this response.



                                                              Datt0
                               Case 3:19-cv-00546-AC                         Document 1            Filed 04/12/19              Page 44 of 53
 U.S. Department of Justice                                                                  Regional Administrative Remedy Appeal .
 Federal Bureau of Ptisons

 Type or use ball-point pen. If attachments are: needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be_ submitted
 With this appeal.

 From:   [(k~'/"Y\e-.r~.                  CO,dM\,e.-\l (',
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                                                                                                                          UNIT                       INSTITUTION




                 DATE                                                                                                SIGNATURE OF REQUESTER
Part B · RESPONSE




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                DATE                                                                                                    REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office withi!J 30 calendar
days ·of the date of this response.                                                                                                          ,:..-            r"    /(   I·
ORIGINAL: RETURN TO INMATE
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Part C - RECEIPT
                                                                                                                   CASENUMBER: - - - - - - - - ~
Return to: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 LAST NAME, FIRST, MIDDLE INITIAL REG.NO.        UNIT         INSTITUTION
SUBJECT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                DATE                                                                         SIGNATURE\RECIPIENT OF REGIONAL APPEAL
         Case 3:19-cv-00546-AC        Document 1      Filed 04/12/19    Page 45 of 53




942835-Rl
FCI Phoenix

This is in response to your Administrative Remedy Appeal of the Warden's decision dated
July 16, 2018. You allege medical neglect and malpractice and claim the issues raised were not
addressed in the response signed by the Warden. You want to know why it took 22 months to
schedule a CT scan if the care provided was in accordance with Program Statement 6031.04.
You do not request specific relief.

Your appeal has been investigated. A thorough review of your medical record was performed
and confirmed the information provided within the Warden's response. Your medical concerns
have been addressed through Intake Screenings, History & Physical, Mid-Level Provider, Injury
Assessment, Sick Call, Diagnostic, and Dental Encounters. On August 29, 2016, at FCC
Victorville, an Injury Assessment - Non-work related encounter was performed for complaints
of left side flank pain. You claimed you hit your ribs when climbing onto your bunk. The
examination revealed no skin deformity, no swelling, no edema, no hematoma, no laceration, no
abrasion, and no puncture wound. You were noted with minor deformity/crepitus around the
eighth intercostal space (ICS) on inspiration and expiration. You were provided Ibuprofen, an x-
ray was ordered, and released to your housing unit with instructions to watch the call out for a
scheduled sick call appointment. You were also advised to notify medical staff if the condition
changed or worsened prior to the scheduled appointment. On August 30, 2016, you were
evaluated again for chest pain and difficulty breathing. You reported you were jumping onto
your bunk, missed, and cracked your chest. A chest x-ray was taken with unremarkable findings
to include no rib fractures. You were provided an abdominal binder and a 30-day supply of 600
 mg Ibuprofen twice daily for pain. Although, you were seen intermittently for other unrelated
complaints, the next clinical encounter related to your injury was on November 7, 2017. During
the November 7, 2017 visit, you reported your rib "pokes out" and you must place a pillow under
 the rib to prevent it from hurting when you lay on your stomach. A routine CT Scan was
 recommended to determine if there was any separation of the costochondral junction of the 10th
 rib on the left side as an enlarging mass has developed in the area. On December 27, 2017, you
 were transferred to FCI Phoenix prior to completion of the CT Scan. When an inmate is
 transferred, any non-emergent procedures approved at other facilities or institutions must be
 reviewed and approved at the new facility as the new treating physician (whether a Bureau
 physician or outside specialist) must evaluate and concur with the course of treatment. On
 January 29, 2018, you were seen during a Sick Call Encounter for a "broken.sternum" and
 continued rib pain. The examination revealed a small palpable and visible non-friable
 mass/lump, tender to palpation with no ecchymosis, no warmth, and no erythema noted. You
 were provided Naproxen for pain and the pending consultation for a CT scan was reviewed. On
 June 15, 2018, the CT Scan was performed and revealed a left rib 10 coaster chondral junction
 separation or old fracture; otherwise nornial. You have been recommended for a Cardiothoracic
 Consultation to determine if a corrective procedure may be appropriate. The Utilization Review
.Committee approved the consultation on August 1, 2018. You will not be advised in advance of
 the exact date or time of the appointment due to security concerns.· You should continue to
 monitor the call out list to ensure you do not miss a scheduled appointment.
              Case 3:19-cv-00546-AC         Document 1       Filed 04/12/19     Page 46 of 53
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     942835-Rl
     FCI Phoenix
     Page 2 of2


     Based on the above, you are receiving care and treatment for requested medical concerns in
     accordance with Bureau of Prisons Clinical Guidelines. There is no evidence of medical
     malpractice or neglect. If you experience an increase in pain or symptoms, you should submit a
     Sick Call request following local procedures for evaluation.

      Accordingly, this response is for informational purposes only. If dissatisfied with this response,
     you may appeal to the Office of the General Counsel, Bureau of Prisons, 320 First Street, NW,
     Washington, D.C. 20534. Your appeal must be received in the General Counsel's office within
     30 calendar days of the date of this response.



     Date                     ary M. Mitchell, Regional Director
           Case 3:19-cv-00546-AC      Document 1    Filed 04/12/19   Page 47 of 53




                     REJECTION NOTICE - ADMINISTRATIVE REMEDY


DATE: NOVEMBER 2, 2018




FROM: ADM~TIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO    MICHAEL CHASE MONTGOMERY, 21005-081
      SHERIDAN FCI    UNT: UNIT 2    QTR: B03-230U
      P.O. BOX 8000
      SHERIDAN, OR 97378



FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID          942835-Al        CENTRAL OFFICE APPEAL
DATE RECEIVED      OCTOBER 24, 2018
SUBJECT 1          MEDICAL CARE - DELAY OR ACCESS TO
SUBJECT 2          MEDICAL CARE - IMPROPER OR INADEQUATE
INCIDENT RPT NO:

REJECT REASON 1: YOU DID NOT PROVIDE A COPY OF YOUR REGIONAL OFFICE
                 ADMINISTRATIVE ~ E A L (BP-10) FORM OR       A COPY
                 OF THE (BP-10) ~ · R O M THE REGIONAL DIRECTOR.

REJECT REASON 2: YOU MAY RESUBMIT YOUR APPEAL IN PROPER FORM WITHIN
                 15 DAYS OF THE DATE OF THIS REJECTION NOTICE.




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                          Case 3:19-cv-00546-AC                Document 1                            Filed 04/12/19     Page 48 of 53
U.S. Department of Justice                                                        Central Office Administrative Remedy. Appeal
Federal Bure'au 'of Prisons

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ments must be submitted with this appeal.

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Part B-RESPONSE




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                                                                                                                              Administrative Remedy Section
                                                                                                                                Federal Bureau of Prisons




                DATE                                                                                                   GENERAL COUNSEL


 ORIGINAL: RETURN TO INMATE                                                                                     CASE NUMBER:         _(1-LL't/L]'-"'S'._,,,o.5=.e.'8/!L,_ _ _
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Part C-RECEIPT
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                        LAST NAME, FIRST, MIDDLE INITIAL                                    REG. NO.                         UNIT                   INSTITUTION

SUBJECT:----------------------------------------

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                             Case 3:19-cv-00546-AC                      Document 1              Filed 04/12/19               Page 49 of 53
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 Federal Bureau of Prisons

Type or use ball~point pen. If attachments are ni:eded, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
,with this appeal,                                             ·                                                                                      ·

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Part B - RESPONSE




                             .                                                                                       . REGIONAL DIRECTOR
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If dissaUsfied with this response, you may appeal to tbC Oeneral Counsel. Your appeal must be received in the General Counsel's Office withjn 30 calendar
days of the dale of this response.

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Part C • RECEIPf
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           Case 3:19-cv-00546-AC      Document 1   Filed 04/12/19   Page 50 of 53




                          RECEIPT - ADMINISTRATIVE REMEDY




DATE: NOVEMBER 27, 2018




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO    MICHAEL CHASE MONTGOMERY, 21005-081
      SHERIDAN FCI    UNT: UNIT 2     QTR: B03-230U




THIS ACKNOWLEDGES THE RECEIPT OF THE CENTRAL OFFICE APPEAL
IDENTIFIED BELOW:

REMEDY ID       942835-A2
DATE RECEIVED   NOVEMBER 7, 2018
RESPONSE DUE    JANUARY 6, 2019
SUBJECT 1       MEDICAL CARE - DELAY OR ACCESS TO
SUBJECT 2       MEDICAL CARE - IMPROPER OR INADEQUATE
              Case 3:19-cv-00546-AC       Document 1   Filed 04/12/19    Page 51 of 53




             ,•-,:TENSION OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY




   :_ :,;,,: - i' iiTRATIVE REMEDY COORDINATOR
            -,_--, L OFFICE

                    CHASE MONTGOMERY, 21005-081
             ,,-,,,r FCI    UNT: UNIT 2    QTR: B03-230U




    -,,,,    '''ME IS NEEDED TO RESPOND TO THE CENTRAL OFFICE APPEAL
             -,,,,,OW.   WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
             .'.L!-!INISTRATIVE REMEDY PROGRAM STATEMENT.


                      942835-A2
,.,,--                NOVEMBER 7, 2018
                      JANUARY 6, 2019
                      MEDICAL CARE    DELAY OR ACCESS TO
                      MEDICAL CARE - IMPROPER OR INADEQUATE
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Federal Bureau of Prisons

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Part B-RESPONSE
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Part C-RECEIPT
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Return to: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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SUBJECT:----------------------------------------

                          DATE                                               SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL                                      BP-231(13)
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       Case 3:19-cv-00546-AC   Document 1   Filed 04/12/19   Page 53 of 53



Administrative Remedy No. 942635-A:,:
Part B - Response


This is in response to your Central Office Administrative Remedy
Appeal wherein you assert you have severe pain in your sternum
that healed wrong and sticks out of your chest.  For relief, you
request to see a doctor and get help.

 We have reviewed documentation relevant to your appeal and,
based on our findings, concur with the manner in which the
Warden and Regional Director responded to your concerns at the
time of your Request for Administrative Remedy and subsequent
appeal.   Our succeeding review reveals on December 4, 2018, you
were seen by a doctor who went over your CT results, prescribed
you oxcarbazepine for pain and requested an Orthopedist
consultation.   This consultation is pending review from the
Utilization Review Committee (URC).   Once the consultation has
been reviewed, Health Services will notify you of their
decision.   It is in your best interest to continue compliance
with your medication regimen and medical plan of care in order
to obtain optimal results.   Your primary care team will continue
to make recommendations as needed. As recommendations are made,
a course of treatment will be determined.   Given this, we shall
defer diagnostic testing and treatment interventions to the
Health Services staff at the local level.

The record reflects you have received medical care and treatment
in accordance with evidence based standard of care and within
the scope of services of the Federal Bureau of Prisons.  You are
encouraged to comply with proposed medical treatment so Health
Services can continue to provide essential care and to contact
medical personnel through routine sick call procedures should
your condition change.

Considering the foregoing, this response is provided for
informational purposes only.




                                       Ian Connors, Administr~
                                       National Inmate Appeal~
